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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION
   __________________________________________
                                              )
   UNITED STATES OF AMERICA, et al.           )
   ex rel. HEALTH CHOICE GROUP, LLC,          )
                                              )
                Plaintiff,                    )
                                              )   No. 5:17-CV-126-RWS-CMC
                v.                            )
                                              )
   BAYER CORPORATION, ONYX                   )
   PHARMACEUTICALS, INC.,                     )
   AMERISOURCEBERGEN CORPORATION, & )
   LASH GROUP,                               )
                                              )
                Defendants.                   )
   __________________________________________)

            REPLY MEMORANDUM IN SUPPORT OF THE UNITED STATES’
           MOTION TO DISMISS RELATOR’S SECOND AMENDED COMPLAINT

          The investors behind Venari Partners LLC, dba “NHCA Group,” filed substantially the

   same allegations against dozens of defendants—at times, copied word-for-word—in eight

   judicial districts throughout New York, Massachusetts, Pennsylvania, Illinois, Washington, and

   Texas. The Department of Justice, in coordination with several investigative agencies, devoted

   considerable time and resources to investigating this group of cases over a lengthy period of

   time. In all of the cases, the Department attorneys reached the same conclusion: that the

   allegations lack sufficient factual and legal support to establish a violation of the False Claims

   Act.

          Having already expended substantial resources on these matters, the United States now

   seeks to exercise its statutory right to dismiss the actions. Informed by several years of

   investigations and analysis by attorneys from the Department of Justice and the Department of

   Health and Human Services Office of Inspector General (HHS-OIG), the United States has

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   concluded that, not only do the allegations lack factual and legal support, but further litigation

   will impose burdens and costs on the government that are not justified and will undermine

   practices that benefit federal health care programs by providing patients with greater access to

   product education and support.

           In response, Relator claims that the Department of Justice is seeking to “legalize certain

   kickbacks” and “gut” the False Claims Act. Just because the Relator claims the defendants have

   engaged in illegal kickbacks, however, does not make it so. Relator’s arguments erroneously

   presume the very factual and legal support that the government’s multiple investigations have

   found to be lacking. More fundamentally, however, Relator ignores the proper question before

   the Court. The question is not whether Relator (or this Court) would have made a different cost-

   benefit determination. Under the FCA and a substantial body of case law interpreting it, the

   United States is entitled to broad deference to decide which claims should be prosecuted on its

   behalf. Whether this broad deference is viewed as giving the government unfettered discretion

   to dismiss an action (as some courts have found and the government contends), or allows the

   government to dismiss if it articulates a rational basis (as other courts have held), none of

   Relator’s arguments provides a basis to override the government’s reasoned determination that

   the litigation should not proceed and that the claims should be dismissed. Under these

   circumstances, the government’s decision to dismiss is within the broad grant of authority

   provided by Congress, and should be affirmed.

                                              ARGUMENT

      I.      Relator’s Factual Recitation is Incomplete and Inaccurate

           Relator devotes thirty-five pages of its response to characterizing the work of NHCA

   Group and the government’s investigation. Not only does this recitation misstate or omit key



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   facts, but more importantly, it fails to provide any basis for the Court to conclude that the

   government has abused its broad discretion to dismiss this matter. In particular, Relator’s

   discussion avoids the government’s legitimate concerns about burdensome discovery and

   chilling of legitimate and beneficial product education and support for patients. For this reason,

   the United States does not intend to respond to all of the factual assertions by Relator and will

   only focus on the most relevant ones.

          A. Relator’s Portrayal of NHCA Group is Inaccurate

          Relator does not dispute the byzantine corporate structure utilized by the qui tam

   investors of Venari Partners LLC to maintain their anonymity and conceal their role behind

   “NHCA Group.” And although Relator bristles at the notion that NHCA Group is a professional

   relator, that is exactly how Mr. Mininno previously described the organization on his public

   Facebook profile:

          The group deploys to finance the operations of an experienced healthcare fraud
          management team seeking to uncover, investigate, develop and file high value
          whistleblower lawsuits. Applying a proven and reproducible method, management
          intends to build a portfolio of cases that can generate substantial investor returns over
          5 to 10 years.

   Declaration of Colin M. Huntley (“Huntley Decl.”), ¶ 24, Exhibit 2.1 Relator attempts to

   discredit any reference to these facts by dismissing them as “ad hominem attacks” and “attacks

   on Relator’s character.” But these facts are germane for several reasons, including:

   (1) explaining how the same allegations came to be copied across qui tam complaints filed

   throughout New York, Massachusetts, Pennsylvania, Illinois, Washington, and Texas 2 in an


   1
     The profile is no longer public and appears to have been deactivated or removed sometime
   after June 7, 2018.
   2
    The United States’ opening brief identified 11 qui tam actions filed by NHCA Group involving
   substantially the same allegations. An additional case has since been unsealed in the Southern


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   effort to “generate substantial investor returns” for the qui tam investors; (2) informing the

   reliability of the information presented in the complaints; and (3) demonstrating that neither the

   relator entity nor the qui tam investors have personal knowledge or first-hand information of any

   kind relating to their allegations.3

           Relator’s attempts to recast NHCA Group as a bona fide “research organization” are

   similarly unpersuasive. When the organization was profiled by WIRED magazine in March

   2016, Mr. Mininno claimed that NHCA Group had filed “around 40 lawsuits,” J.C. Herz,

   Medicare Scammers Steal $60 Billion a Year. This Man is Hunting Them., Wired, Mar. 7, 2016,

   available at https://www.wired.com/2016/03/john-mininno-medicare/ (last visited Feb. 6, 2019),

   and this figure does not include the 11 qui tam actions listed in the United States’ opening brief.

   These facts speak for themselves, and the notion that NHCA Group had no idea the information

   collected would be used for litigation strains credulity, particularly given the organization’s

   stated goal of using its “reproducible method” to “develop and file high value whistleblower

   lawsuits.” In this case, nearly all of the witnesses solicited for the fictitious “qualitative research

   study” were interviewed after NHCA Group had filed actions in Massachusetts, Pennsylvania,

   and New York alleging substantially the same conduct, including against some of the same



   District of New York, United States ex rel. Doe and APBQR, LLC v. Sanofi-Aventis U.S. LLC, et
   al., No. 16-cv-5107-NRB (S.D.N.Y.). The case against Sanofi-Aventis has been dismissed, along
   with four of the other NHCA Group qui tam actions. Six of the related NHCA Group actions
   remain pending, including this one.
   3
     Relator objects to the use of the term “shell company” when referring to Relator Health Choice
   Group, LLC, and prefers the term “subsidiary.” See Relator’s Response in Opposition to Motion
   to Dismiss (Dkt. 122) (Rel. Opp’n) at 7. The descriptor is irrelevant; however, the United States
   notes that Health Choice Group LLC appears to have no employees or assets, no place of
   business, and no business operations (other than serving as Relator), and was incorporated only
   10 days before this case was filed.


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   defendants. In this case, as well, a witness appears to have been interviewed after the complaint

   was filed, and yet NHCA Group persisted with the pretext of “market research” and its claim of

   “no bias.”4

          Finally, in an effort to lend credibility to its “research” methods and bolster its “white

   coat marketing” kickback allegations, Relator exaggerates NHCA Group’s role in prior,

   unrelated settlements. For instance, Relator states:

                  In a 2016 FCA action, Novo Nordisk paid approximately $60 million to resolve
                  claims brought by whistleblowers that, among other improper activities, Novo
                  Nordisk was paying kickbacks to induce healthcare providers to prescribe its
                  products to patients. One method of carrying out this fraud was disguising sales
                  reps as medical educators as part of a “white coat marketing” scheme and paying
                  them kickbacks to persuade doctors to prescribe its products. Novo Nordisk’s
                  white coat marketing scheme was uncovered by whistleblowers, including two
                  whistleblowers aided by NHCA, who brought a qui tam action that included years
                  of the Group’s research work into various marketing practices conducted by the
                  drug industry.

   Rel. Opp’n at 11-12; Mininno Decl. at ¶ 31.5 With this description, Relator implies that another

   pharmaceutical company paid $60 million to resolve AKS allegations very similar to the ones in

   this case. But this is false— a review of the settlement agreement reveals that it resolved no

   AKS claims of any sort. See Declaration of Colin Huntley (“Huntley Decl.”), ¶25, Exhibit 3 at


   4
     Nor can Relator legitimize its tactics after the fact by insisting that it is standard practice to
   “blind” respondents. In fact, the research manual cited by Relator appears to counsel against
   Relator’s survey methodology. See Shari S. Diamond, Reference Guide on Survey Research, in
   Reference Manual on Scientific Evidence 359, 410-411 (3d. ed. 2011) (explaining that it is
   “standard practice in surveys conducted for litigation to do double-blind research whenever
   possible” so the interviewer is blind to the sponsor of the survey and its purpose.) (emphasis
   added).
   5
      Mininno refers to this same settlement as a $40 million settlement in his supporting declaration
   filed in United States ex rel. SMSPF, LLC v. EMD Serono, Inc., et al., No. 16-cv-5594 (E.D.
   Pa.). Neither of these figures is correct – the company agreed to pay $46.5 million to resolve
   alleged FCA violations and separately agreed to disgorgement of $12.15 million for alleged
   violations of the Food, Drug, and Cosmetic Act (FDCA).


                                                     5
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   ¶K (defining the “Covered Conduct” resolved by the settlement agreement). Rather, the FCA

   recovery was based on entirely distinct allegations that the company failed to comply with the

   FDA-mandated Risk Evaluation and Mitigation Strategy (REMS) for a Type II diabetes

   medication and promoted the drug for individuals who did not have Type II diabetes. Id. The

   government neither intervened in nor settled the “white coat marketing” allegations, which were

   declined by the government and separately settled years later by the relator for $350,000, see id.

   at ¶26, Exhibit 4, a vastly lower sum than the $60 million now claimed by Relator.6

          B. Relator Mischaracterizes the Government’s Investigation

          Equally unavailing is Relator’s attempt to minimize the adequacy of the government’s

   investigation and portray the United States’ motion to dismiss as a product of “inertia of

   government lawyers.” Rel. Opp’n at 6.

          First, Relator notes that a Department of Justice attorney attended an interview of

   Relator’s representative, Mr. Mininno, by videoconference and supposedly never inquired into

   the substance of the allegations in certain complaints. See Rel. Opp’n at 24. But relator omits

   key details, including that this September 2017 interview of Mr. Mininno included an Assistant

   U.S. Attorney, an Investigator from the U.S. Attorney’s Office, two Investigative Analysts from

   HHS-OIG, and a Special Agent from the Defense Criminal Investigative Service, all of whom

   attended all or part of the interview in person. See Declaration of Ann Williams (“Williams

   Decl.”) at ¶3. More importantly, Relator ignores that during the interview, Mr. Mininno




   6
     This is an important data point because the “white coat marketing” and AKS claims in the
   Novo Nordisk qui tam that were settled for $350,000 are substantially the same allegations
   presented in this case, which Relator asserts are worth “hundreds of millions, if not billions, of
   dollars.” Rel. Opp’n at 39. Also, to put the settlement figure in perspective, the Centers for
   Medicare and Medicaid Services estimates that it will cost more than $350,000 simply to collect
   Medicare claims data related to the NHCA Group cases.
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   conceded he had no personal knowledge concerning the allegations in the qui tam complaints

   discussed. See id. at 5. Thus, the lack of substantive discussion regarding the allegations was

   not due to the lack of diligence by government attorneys or investigators, but rather Mr.

   Mininno’s own admitted lack of knowledge concerning the allegations that he hoped would

   “generate substantial investor returns.”

          Second, Relator claims that it “does not believe that the government investigated

   Relator’s allegations,” because the Department declined intervention only six weeks after

   interviewing Mr. Mininno. See Rel. Opp’n at 24. Relator surmises that it is “inconceivable” that

   the Department could have collected information or conducted an adequate investigation in only

   six weeks. Yet again, Relator’s recitation of events fails to tell the whole story.

          It is ironic that Relator emphasizes the brevity of the government’s investigation prior to

   declination given that Relator strenuously opposed the United States’ request for additional time

   to investigate Relator’s allegations. In any event, by this point the United States had already

   spent considerable time investigating substantially the same allegations that NHCA Group had

   filed in several other districts, implicating some of the same defendants, the same legal issues,

   and the same industry practices. More importantly, the Department continued to evaluate this

   particular qui tam action after it was declined. In particular, as discussed more fully below, the

   government had extensive discussions with Relator about the allegations and supporting

   evidence. Additionally, prior to seeking dismissal, the Department requested that Bayer

   voluntarily produce documents relating to the allegations, resulting in the collection of

   approximately 123,000 pages of documents, including commercial business plans and the

   relevant contracts entered into among defendants in this case.




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          C. Relator Mischaracterizes Its Discussions with DOJ

          Relator also mischaracterizes the extensive discussions between Relator’s counsel and

   government counsel that were conducted at the request of NHCA Group after it was informed

   that the government had significant concerns regarding further litigation that counseled in favor

   of dismissal pursuant to section 3730(c)(2)(A). Despite Relator’s reference to a “48-hour

   ultimatum,” the facts are far less dramatic.

          The government accommodated multiple requests for telephonic and in-person meetings

   with various representatives of the Relator entities spanning approximately 10 weeks. See

   Huntley Decl., ¶¶ 3-23.7 Although Relator now complains about the United States’ delay in

   filing its motion to dismiss, the Department delayed filing for over two months at Relator’s

   request to afford Relator an extended opportunity to address the government’s concerns about

   this and the other actions. The parties’ discussions of these concerns included a 90-minute

   meeting on October 18, 2018, in which the NHCA Group relators were represented by sixteen

   attorneys from nine different law firms, and a 60-minute telephone conference on November 6,

   2018, in which Relator’s counsel had an opportunity to discuss the case with the Assistant

   Attorney General for the Civil Division and a Deputy Associate Attorney General, among others.

   See Huntley Decl. at ¶¶ 7-9; 13-15. While Relator asserts that government counsel “lacked a

   basic understanding of the allegations,” and never suggested concern about the lack of merit or

   factual support, this is yet another mischaracterization. See id. Indeed, Relator’s own



   7
     Relator’s response includes a 10-page attorney declaration that purports to characterize the
   numerous discussions and correspondence with Department of Justice counsel. The government
   disagrees with many of these characterizations, but does not intend to provide a blow by blow
   rebuttal, as the parties’ substantive discussions are not relevant to the Court’s analysis of the
   Government’s motion to dismiss, and the fact that Relator required ten-pages to recount these
   discussions in and of itself speaks volumes about the extent to which Relator was afforded an
   opportunity to present its views and supporting information to the government.
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   presentation “agenda” for the October 18 meeting lists discussion of the merits as one of the

   topics for that meeting. See Huntley Decl. at ¶ 8, Ex. 1; ¶ 10. Similarly, the suggestion that the

   government never discussed any HHS-OIG guidance with Relator is incorrect – during both the

   October 18 meeting and the November 6 teleconference, the parties discussed pertinent OIG

   guidance and how it bears on the case, including the ability to demonstrate the intent necessary

   to prove the predicate AKS violations upon which Relator’s FCA claims are based. See Huntley

   Decl. at ¶¶ 9, 14.

            Notably, in addition to the parties’ extended discussions, as well as multiple rounds of

   additional correspondence that Relator sent between October 26 and December 13, the

   government acceded to Relator’s request that it be afforded the opportunity to provide

   supplemental information and examples of their best supporting evidence. See Huntley Decl. at

   ¶¶ 15-16. In sum, contrary to Relator’s suggestions, Relator was provided with a substantial

   opportunity before the government moved to dismiss to address the government’s concerns

   regarding further litigation. The government carefully considered Relator’s input, discussed it

   with counsel for the affected agencies, and concluded that Relator’s litigation on behalf of the

   government was not in the public interest and should be brought to a close.

      II.      Relator’s Legal Analysis Suffers from Numerous Deficiencies

            In addition to the factual errors made in discussing NHCA Group and the government’s

   investigation, Relator also advances a number of irrelevant or erroneous legal propositions.

   None of these arguments negates the conclusion that the government is entitled to substantial

   deference—either unfettered discretion or rational basis review—when exercising its dismissal

   authority, and that the government’s balancing of interests in this case falls squarely within the

   broad authority delegated to it by Congress.



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           First, the Court need not assess the propriety of a corporate entity serving as relator or a

    corporation’s ability to qualify as an “original source” for purposes of the FCA’s public

    disclosure bar. See 31 U.S.C. § 3730(e)(4) (authorizing dismissal of a qui tam action if the

    allegations were publicly disclosed and the relator does not qualify as an “original source”). The

    United States’ motion to dismiss is not premised on relator’s corporate form or the public

    disclosure bar, and the case law cited by relator on these issues is not relevant to the

    government’s authority to dismiss this action under 31 U.S.C. §3730(c)(2)(A).

           Second, Relator incorrectly claims that the instant motion is “unprecedented” in the “150

    years” since the enactment of the FCA. Rel. Opp’n at 1. As an initial matter, section

    3730(c)(2)(A) was only enacted in 1986, not “150 years” ago. More importantly, in the three

    decades since enactment, there have been numerous instances in which courts have granted

    motions to dismiss that were filed at far more advanced stages of the litigation. See, e.g.,

    Sequoia Orange Co., 151 F.3d at 1143 (granting government’s motion to dismiss filed “several

    years after the litigation began”); see also United States ex rel. Wright v. Agip Petroleum Co., et

    al., No. 5:03-cv-00264-MHS-CMC (E.D. Tex. Feb. 2, 2005) (granting government’s motion to

    dismiss filed more than eight years after qui tam filed and more than four years after declination-

    in-part); United States ex rel. Piacentile v. v. Amgen Inc., et al., No. 04-cv-3983, 2013 WL

    5460640, at *1-3 (E.D. Pa. Sept. 30, 2013) (granting government’s motion to dismiss filed more

    than nine years after action commenced); United States ex rel. Stierli v. Shasta Services, Inc.,

    440 F. Supp. 2d 1108, 1115 (E.D. Cal. 2006) (granting government’s motion to dismiss filed

    after close of discovery while cross-motions for summary judgment were pending).

           Third, Relator misapprehends both the D.C. Circuit’s decision in Swift and the Ninth

    Circuit’s decision in Sequoia Orange. For the reasons set forth in the United States’ opening



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    brief, the government respectfully suggests that Swift’s unfettered discretion standard is the

    appropriate one for evaluating the government’s motion to dismiss. In any event, Relator’s

    attempt to avoid the application of either standard in this case is unavailing.

           Relator incorrectly asserts that Swift is “completely inapposite” “[b]ecause Relator is not

    attempting to force the United States to prosecute a trivial claim against its will.” Rel. Opp’n at

    39. The United States did not prosecute the claim in Swift any more or less than it is prosecuting

    the claim in this case: in both actions the relator was proceeding in the name of the United States

    and the United States determined that such a claim should not proceed. Indeed, the D.C. Circuit

    in Swift never mentioned the concept of “forced prosecution,” and instead grounded its

    unfettered discretion standard in the Government’s broad authority to dismiss cases brought “in

    the name of the United States.” Id. at 254 (“Nothing in §3730(c)(2)(A) purports to deprive the

    Executive Branch of its historical prerogative to decide which cases should go forward in the

    name of the United States.”). And if there were any doubt about Relator’s constrained

    interpretation of Swift, it is eliminated by the D.C. Circuit’s decision in United States ex rel. Hoyt

    v. American Nat’l Red Cross, 518 F.3d 61, 65 (D.C. Cir. 2008), where the court reaffirmed the

    United States’ “unfettered right” to dismiss a declined qui tam without any of the conditions or

    limits Relator suggests. Finally, Relator ignores the Fifth Circuit’s en banc decision in Riley v.

    St. Luke’s Episcopal Hospital, 252 F.3d 749 (5th Cir. 2001) (en banc). There, using language

    reminiscent of the D.C. Circuit in Swift, the court acknowledged the Executive’s “extraordinarily

    wide discretion” in deciding whether to prosecute and cited section 3730(c)(2)(A) for the

    proposition that “the government retains the unilateral power to dismiss an action

    notwithstanding the objections of the [relator].” 252 F.3d at 753 (emphasis added).




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            With regard to Sequoia Orange, Relator incorrectly dismisses it as “provid[ing] no

    meaningful guidance” because the government in that case conceded the case had merit. Rel.

    Opp’n at 40. But the dismissal of claims in that case despite the government’s stipulation of

    merit gives the Ninth Circuit’s decision greater force in this case, not less.

           Relator also misconstrues Sequoia Orange as requiring the government to make an

    “evidentiary showing” to disprove the merit of the allegations before dismissing this action

    pursuant to section 3730(c)(2)(A). See Rel. Opp’n at 40-41. Numerous courts applying Sequoia

    Orange, however, have held that the potential merit of a qui tam action is insufficient to

    overcome a motion to dismiss under section 3730(c)(2)(A). See, e.g., United States ex rel.

    Wickliffe v. EMC Corp., 473 Fed. App’x 849, 854 (10th Cir. 2012) (“[T]he the potential merit of

    a qui tam action is insufficient to overcome the government’s rational reasons for dismissing the

    suit.”); United States ex rel. Toomer v. TerraPower, et al., No. 4:16-cv-00226, 2018 WL

    4934070, *5 (D. Id. Oct. 10, 2018) (explaining that the court “need not address the viability of

    [relator’s] claims” because the Court can dismiss the claims “even if they are viable”). While

    Relator relies on the Ninth Circuit’s statement that “a meritorious case may be dismissed upon a

    proper showing,” Sequoia Orange Co., 151 F.3d at 1144 (citing S. Rep. No. 99-345, at 25-26),

    Relator fails to note that the Senate Report cited by the Ninth Circuit discussed a preliminary

    version of section 3730(c)(2)(A) that was not enacted. See Swift, 318 F.3d at 253. More

    importantly, the legislative history for the unenacted provision explicitly rejected the notion that

    evidentiary hearings should be required and explained that they should be available only in the

    limited circumstances where a relator makes a “substantial and particularized need” for a

    hearing. S. Rep. 99-345, at 26 (1986); see also United States ex rel. Wickliffe, 473 Fed. App’x.

    at 854 (explaining that an evidentiary hearing is not necessary for relator to address his



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    disagreement with the United States’ proffered reasons for dismissal, which can be addressed at

    oral argument); United States ex rel. Nicholson v. Spigelman, No. 10-cv-3361, 2011 WL

    2683161, at *6 (N.D. Ill. July 8, 2011) (rejecting relator’s assertion that an evidentiary hearing

    was required, an argument the Court called “patently wrong” in light of the legislative history).

           Relator’s argument that it is entitled to an “evidentiary showing” also relies erroneously

    on the law of the case doctrine. Contrary to Relator’s suggestion, the Court has made no final

    merits determination, nor have Relator’s allegations been “held to have merit,” Rel. Opp’n at 39.

    Rather, the Court has held only that Relator’s allegations were plausibly alleged after accepting

    all allegations as true and drawing all inferences in Relator’s favor. This decision at the pleading

    stage is hardly a determination of the merits, particularly given that the claims were nonetheless

    dismissed on account of Relator’s failure to plead its allegations with the particularity required

    by Fed. R. Civ. P. 9(b). As such, the partial denial of Defendants’ motion to dismiss has no

    preclusive effect on the United States’ motion to dismiss, which is based on a separate and

    unrelated legal issue, and consideration of, among other things, Relator’s ability to prove not just

    plead its allegations. Cf. Wyble v. Gulf South Pipeline Co., L.P., 308 F. Supp. 2d 733, 745 (E.D.

    Tex. 2004) (rejecting plaintiff’s assertion that the denial of a motion to dismiss established “law

    of the case” for separate, unrelated issues relating to plaintiff’s standing to pursue injunctive

    relief); Gould v. United States, 66 Fed. Cl. 253, 266 (2005) (“The ‘law of the case,’ therefore is

    that these allegations survive a motion to dismiss for failure to state a claim upon which relief

    can be granted. Whether the merits of those very same claims survive summary judgment is an

    entirely different and undecided matter.”).

           Here, Relator has made no showing that the government’s motion to dismiss is

    “fraudulent, arbitrary and capricious, or illegal.” Sequoia Orange Co., 151 F.3d at 1145. At



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    most, Relator’s objections boil down to differences of opinion regarding the government’s cost-

    benefit analysis and certain policy and enforcement prerogatives. Such differences of opinion,

    no matter how strongly held, fall far short of carrying Relator’s burden of overriding the

    Government’s broad discretion to dismiss or obtaining an evidentiary hearing. See, e.g., United

    States ex rel. Stovall v. Webster Univ., No. 3:15-CV-03530-DCC, 2018 WL 3756888, at *3

    (D.S.C. Aug. 8, 2018) (granting government’s motion to dismiss despite relator’s claim that

    “anticipated financial gain outweighs the anticipated time and money to be expended” by the

    United States); United States ex rel. Toomer, 2018 WL 4934070, at *5 (“In essence, [relator]

    disagrees with the government’s priorities. This disagreement is insufficient to establish that the

    government’s reasons for seeking dismissal are invalid.”); United States ex rel. Nicholson, 2011

    WL 2683161, at *2 (rejecting relator’s claim that the government “seriously underestimated the

    financial upside of the litigation,” explaining, “[t]he government’s cost-benefit analysis may be

    sound or it may be short-sighted, but it cannot be deemed arbitrary and capricious.”); see also

    Heckler v. Chaney, 470 U.S. 821, 831-32 (1985) (stating that an agency is “better equipped than

    the courts to deal with the many variables involved in the proper ordering of its priorities” and to

    evaluate its available resources).8




    8
      Relator makes a passing reference to potential “bias” of government officials affecting the
    United States’ dismissal decision, citing the fact that the Secretary of HHS is a former senior
    executive of a pharmaceutical company that is a defendant in United States ex rel. Health Choice
    All’nce, LLC v. Eli Lilly & Co., et al., No. 5:17-cv-123 (E.D. Tex.). Relator offers no support for
    this speculation, and courts have rightly rejected such speculation in similar contexts. See, e.g.,
    United States ex rel. Nasuti v. Savage Farms, Inc., No. 12-cv-30121, 2014 WL 1327015, *11-12,
    (D. Mass. March 27, 2014) (Report and Recommendation) (rejecting relator’s “unsupported
    speculation” concerning “political connections” playing a role in government’s dismissal
    decision), aff’d 581 Fed. App’x. 904 (1st Cir. 2014). In any event, the recommendation to
    dismiss this action was made by career attorneys from the Department of Justice in consultation
    with career attorneys from HHS-OIG.


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           Nor is Relator entitled to discovery concerning the United States’ investigation,

    deliberations, or confidential communications with agency counsel. As one court recently

    explained, “[t]he FCA does not expressly entitle the objecting qui tam relator to discovery at all,”

    and therefore, allowing a relator to conduct discovery into the government’s reasons for

    dismissal “is generally antithetical to the government’s prerogative to end a qui tam case brought

    in its own name.” United States ex rel. Toomer, 2018 WL 4934070, at *6 (quoting United States

    v. Everglades Coll., Inc., 855 F.3d 1279, 1291 (11th Cir. 2017)). The recent decision in Toomer

    is instructive. Applying the Sequoia Orange standard, the court rejected relator’s request to

    conduct discovery regarding the adequacy of the government’s investigation or whether it had

    considered “arbitrary or improper factors” in moving for dismissal. Id. See also United States ex

    rel. Nicholson, 2011 WL 2683161, at *3 (rejecting relator’s request for discovery because

    permitting the relator to conduct discovery would “allow what the Government was trying to

    avoid in moving to dismiss the action—costly and time consuming. . . discovery” (citation

    omitted)); United States ex rel. Schweizer v. Oce North America, Inc., 956 F. Supp. 2d 1, 9

    (D.D.C. 2013) (rejecting relator’s request for discovery into government’s dismissal decision

    because it “would risk transforming the § 3730(c)(2)(A) hearing into a trial on the merits of

    plaintiff’s claims and the government's estimations of the litigation risks.”); cf. Everglades Coll.,

    855 F.3d at 1290 (affirming the district court’s denial of relator’s request for discovery and

    evidentiary hearing in the arguably less deferential context of 31 U.S.C. § 3730(c)(2)(B)) where

    the government seeks to settle claims over relator’s objection). Here, too, Relator is not entitled

    to add to the very discovery burden that the government seeks to end.

           Finally, while section 3730(c)(2)(A) affords the Relator a hearing on the United States’

    motion, the government agrees with the numerous courts that have held that the purpose of such



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    a hearing “is simply to give the relator a formal opportunity to convince the government not to

    end the case.” Swift, 318 F.3d at 253; see also United States ex rel. Nasuti, 2014 WL 1327015,

    at *13. Moreover, a number of courts have held that no hearing is required at all if relator has

    been afforded an adequate opportunity through written briefing to persuade the United States not

    to dismiss the action. See United States ex rel. May v. City of Dallas, No. 3:13-cv-4194-N-BN,

    2014 WL 5454819, *4 (N.D. Tex. Oct. 27, 2014); Nicholson, 2011 WL 2683161, at *3; United

    States ex rel. Pentagen Techs. Int’l Ltd. v. United States, No. 00-CIV-6167-DAB, 2001 WL

    770940, at *7 n.13 (S.D.N.Y. July 10, 2001). In this particular case, though ultimately

    unsuccessful, there can be no doubt that Relator has already been afforded multiple opportunities

    to present its views and arguments to the government.

                                               CONCLUSION

           Having failed in its efforts to persuade the government not to dismiss, Relator now urges

    the Court to second-guess the government’s investigation, conclusions, and policy prerogatives,

    thereby illustrating the very separation of powers concerns that undergird both Swift and Sequoia

    Orange. The Court should decline the invitation to do so, and for the reasons set forth above, as

    well as in the government’s motion to dismiss, the United States respectfully requests that the

    Court grant its motion pursuant to 31 U.S.C. § 3730(c)(2)(A).



                                                 Respectfully submitted,

                                                 JOSEPH H. HUNT
                                                 Assistant Attorney General,
                                                 Civil Division

                                                 JOSEPH D. BROWN
                                                 United States Attorney



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    Dated: February 19, 2019      By: /s/ James G. Gillingham
                                      JAMES G. GILLINGHAM
                                      Assistant U.S. Attorney
                                      Eastern District of Texas
                                      110 N. College Street; Suite 700
                                      Tyler, Texas 75702
                                      E-mail: James.Gillingham@usdoj.gov
                                      (903) 590-1400
                                      (903) 590-1436 (fax)
                                      Texas State Bar # 24065295

                                      JOSHUA M. RUSS
                                      Assistant U.S. Attorney
                                      Eastern District of Texas
                                      101 East Park Blvd., Suite 500
                                      Plano, Texas 75074
                                      E-mail: Josh.M.Russ@usdoj.gov
                                      (972) 509-1201
                                      (972) 509-1209 (fax)
                                      Texas State Bar # 24074990

                                      MICHAEL D. GRANSTON
                                      EDWARD C. CROOKE
                                      COLIN M. HUNTLEY
                                      BRIAN J. McCABE
                                      Attorneys, Civil Division
                                      United States Department of Justice
                                      P.O. Box 261, Ben Franklin Station
                                      Washington, D.C. 20044
                                      202-616-4875
                                      202-616-3085 (fax)
                                      Brian.McCabe@usdoj.gov




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                                    CERTIFICATE OF SERVICE

            I certify that on this 19th day of February 2019, I caused this document filed through the
    ECF system to be sent electronically to the registered participants as identified on the Notice of
    Electronic Filing (NEF), and paper copies will be sent to those indicated as non-registered
    participants.


                                                  /s/ James G. Gillingham
                                                 JAMES G. GILLINGHAM




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